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            EXHIBIT A
to Plaintiffs’ Emergency
 Motion for Protective
         Orders
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            EXHIBIT 1
              to Van Grack Affidavit
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From:            Katie Rosman
To:              Adam Van Grack
Subject:         New York Times reporter ON DEADLINE
Date:            Friday, November 13, 2020 5:16:45 PM


Dear Adam:

My name is Katie Rosman and I am a reporter for the New York Times.

With a colleague, I am reporting a story about your clients Fred Smith, Dwight Schar
and Robert Rothman and their filing in federal court in Maryland, asking a judge to
allow them to sell their WFT shares (40 percent of the team) together.

Are you or your clients available for comment? We are writing on deadline.
I can be reached on 917-495-7005.

best regards,
Katie Rosman
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            EXHIBIT 2
              to Van Grack Affidavit
             SPORTS                                                                                 SPORTS | Partial
                                                                                                                CaseOwners   of Washington’s
                                                                                                                     8:20-cv-03290-PJM       N.F.L.10-2
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                                                                                                                                                              11/16/20  Page 8toofSell
                                                                                                                                                                                   8 Their Stake
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                                                                                            Partial Owners of Washington’s N.F.L.
                                                                                            Team Seek Path in Court to Sell Their
                                                                                            Stake
                                                                                            Three limited partners said in a federal court filing that Daniel
                                                                                            Snyder, the team’s majority owner, was trying to block the sale of
                                                                                            their combined 40 percent stake for $900 million.




                                                                                                          Jerry Jones, left, the Cowboys’ owner, with the embattled Daniel
                                                                                                          Snyder, owner of the Washington Football Team. Patrick
                                                                                                          Mcdermott/Getty Images




                                                                                                                     By Ken Belson and Katherine Rosman


                                                                                            Nov. 13, 2020



                                                                                            The increasingly bitter battle for control of the Washington
                                                                                            Football Team took a significant turn on Friday when three of the
                                                                                            team’s limited partners, who together own 40 percent of the club,
                                                                                            asked a federal judge to allow them to sell their shares as a group.

                                                                                            Such filings are rare in the opaque world of buying and selling
                                                                                            N.F.L. teams. Most ownership disputes are handled in-house by a
                                                                                            league arbitrator, but by taking it to court, the minority
                                                                                            shareholders are signaling the depth of the discord with the
                                                                                            majority owner, Daniel Snyder.

                                                                                            Their maneuver to court, however, risks alienating the league and
                                                                                            other team owners.

                                                                                            The three limited partners — Frederick Smith, the chairman of
                                                                                            FedEx; Robert Rothman, an asset manager; and Dwight Schar,
                                                                                            founder of a home building company — said in their filing in United
                                                                                            States District Court in Maryland that they had received an offer of
                                                                                            $900 million for their combined shares.

                                                                                            Snyder has given legal notice to the limited partners that he will
                                                                                            exercise his right of first refusal, but buy out only Smith and
                                                                                            Rothman, who together own 25 percent, not Schar, who holds 15
                                                                                            percent of the team.


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                                                                                            This prompted the limited partners to ask a judge to let them sell
                                                                                            their shares as a block and stop Snyder from trying to split up the
                                                                                            group.

                                                                                            The limited partners said that Snyder’s effort “flies in the face” of
                                                                                                                                                                                                                                          Editors’ Picks
                                                                                            their partnership agreement, according to the court filing reviewed
                                                                                            by The New York Times. The agreement, they said, gives Snyder
                                                                                                                                                                                                                                                              Abby Phillip Is
                                                                                            only the right to buy all of the shares up for sale, not just the ones                                                                                            Next-Gen CNN
                                                                                            he wants.

                                                                                            “Mr. Snyder’s position also threatens to disrupt an orderly process                                                                                               Savannah Guthrie
                                                                                                                                                                                                                                                              Is Feeling Lucky
                                                                                            — including, among other things, necessary due diligence — for
                                                                                            plaintiffs” to sell their shares, the filing said.
                                                                                                                                                                                                                                                              How Hasan Piker
                                                                                            The filing does not say who has offered to buy out the limited                                                                                                    Took Over Twitch
                                                                                            partners. But the partners said their window to negotiate with the
                                                                                            potential buyer would expire on Nov. 25.

                                                                                            The team and the N.F.L. did not respond to a request for comment.
                                                                                            The lawyers for the three limited partners also did not reply to a
                                                                                            request for comment.


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                                                                                            The dispute between Snyder and the limited partners, who bought
                                                                                            into the team nearly 20 years ago, began in the spring. With the
                                                                                            future of the 2020 N.F.L. season unclear then, Snyder deferred
                                                                                            paying annual dividends to the shareholders, a decision that the
                                                                                            partners said was made without consulting them. This led to a
                                                                                            series of accusations that included financial mismanagement of the
                                                                                            team and efforts to smear Snyder.

                                                                                            Snyder threw the three partners off the team’s board this summer,
                                                                                            and the N.F.L. appointed an arbitrator to settle the dispute. The
                                                                                            arbitrator has yet to issue a ruling.

                                                                                            At the same time, Snyder filed a defamation suit claiming a
                                                                                            conspiracy aimed at forcing him to sell the team. In some of those
                                                                                            filings, Snyder has hinted at Schar’s involvement in stories critical
                                                                                            of Snyder’s stewardship of the team. Snyder has also named
                                                                                            Schar’s daughter, as well as a company controlled by Schar and his
                                                                                            son-in-law, in his filings.

                                                                                            Beth Wilkinson, a well-known lawyer in Washington, D.C., was
                                                                                            hired to investigate allegations of widespread sexual harassment in
                                                                                            the team’s front office, details of which were published in July by
                                                                                            The Washington Post. The Post cited 15 women who formerly
                                                                                            worked with the team.

                                                                                            Under pressure from some of his team’s largest sponsors, including
                                                                                            FedEx, Snyder also changed the team’s longtime logo and name,
                                                                                            which many Native American groups considered a slur.

                                                                                            Ken Belson covers the N.F.L. He joined the Sports section in 2009 after stints in Metro
                                                                                            and Business. From 2001 to 2004, he wrote about Japan in the Tokyo bureau.
                                                                                            @el_belson

                                                                                            Katherine Rosman is a features reporter on the Styles desk. She covers media, the
                                                                                            business of fitness, and the politics of gender. She joined The Times in 2014.
                                                                                            @katierosman

                                                                                            A version of this article appears in print on Nov. 14, 2020, Section B, Page 11 of the New York edition with the
                                                                                            headline: Power Struggle in Washington: Dispute Over Team Reaches Court. Order Reprints | Today’s Paper |
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                                                                                                                                                                                                                     Her Abuse Was a ‘Family Matter,’ Until
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                                                                                 Netflix                  Magdalena Wosinska for The New York Times         Vernoll Coleman/New York Daily News, via Getty Images

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